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                         IN THE UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF KENTUCKY
                                    LEXINGTON DIVISION

In re:                                        )       Case No. 18-51740-grs
                                              )
EASTERN AIR FLOW, L.L.C.,                     )       Chapter 7
                                              )
                        Debtor.               )       Judge Gregory R. Schaaf

                                   ORDER FOR RELIEF FROM STAY

         IN CONSIDERATION OF Creditor M&T Bank’s (“M&T”) Motion for Relief From Stay, or

Alternatively, for Adequate Protection (Document No. 22), filed on December 13, 2018, the Court finds

as follows:

         1. The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157 and 1334. This is a

core proceeding pursuant to 28 U.S.C. § 157(b)(2).

         2. M&T filed its Motion for Relief From Stay, or Alternatively, for Adequate Protection

(Document No. 22), on December 13, 2018 (The “Motion”).

         3. M&T’s Motion includes a request that the stay provided for under Rule 4001(a)(3) of the

Federal Rules of Bankruptcy Procedure be waived.

         4. Debtor is the record owners of a 2013 Ford Transit (the “Vehicle”), with a Vehicle

Identification Number NM0LS7AN2DT164765, by virtue of a Certificate of Title issued on or about

October 30, 2015.

         5. M&T has a first priority lien on the Vehicle by virtue of a Retail Installment Contract and

Financing Agreement executed between the Debtor and M&T on or about October 30, 2015.

         6. The Vehicle is currently in Debtor’s possession, and Debtor has not indicated its intention to

surrender or retain the Vehicle.

         7. As of November 14, 2018, Debtor’s account with M&T was past due, with a total payoff
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   Amount including accrued interest charges of $9,523.51

          8. The Debtor has no equity in the Vehicle, nor does it serve any purpose in Bankruptcy.

          9. M&T’s interests are not adequately protected, and if M&T is not permitted to immediately

   proceed with sale of the Vehicle, M&T will suffer irreparable injury, loss, and damage, including

   because the Vehicle continues to depreciate in M&T’s possession until resold.

          10. Accordingly, M&T is entitled to relief from the automatic stay under 11 U.S.C. § 362.

          THEREFORE, The automatic stay imposed by 11 U.S.C. § 362(a) is terminated and annulled as

   to the Vehicle and any proceeds thereof, including without limitation, any insurance payable by reason

   of loss or damage to the Vehicle, effective immediately upon the entry of the order, as a waiver of the

   stay provided for under Rule 4001(a)(3) of the Federal Rules of Bankruptcy Procedure is appropriate

   given that if M&T is not permitted to immediately proceed with sale of the Vehicle, M&T will suffer

   instant and irreparable injury, loss, and damage because the vehicle continues to depreciate daily in

   M&T’s possession until resold.

          IT IS SO ORDERED.

                                                    ###




   Prepared & Submitted By:

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__________________________________________________________________________________________
The affixing of this Court's electronic seal below is proof this document has been signed by the Judge and
electronically entered by the Clerk in the official record of this case.



                                                     Signed By:
                                                     Gregory R. Schaaf
                                                     Bankruptcy Judge
                                                     Dated: Wednesday, January 02, 2019
                                                     (grs)
